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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FREEMAN JORDAN,                                )
                                               )
               Plaintiff,                      )   No. 20-cv-4450
                                               )
                               v.              )   Judge Jeffrey I. Cummings
                                               )
ALEJANDRO MAYORKAS,                            )
Secretary, Department of Homeland              )
Security,                                      )
                                               )
               Defendant.                      )


                            MEMORANDUM OPINION AND ORDER

        Plaintiff Freeman Jordan brings this action against the defendant Alejandro Mayorkas,

Secretary of the United States Department of Homeland Security, alleging that the Federal Air

Marshal Service violated Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§2000e et seq (“Title VII”), by subjecting him to: (1) disparate treatment on the basis of race; (2)

retaliation after he raised concerns about discrimination; and (3) a hostile working environment

based on his race and retaliatory animus. Defendant has filed a motion for summary judgment,

Dckt. #42, which is granted for the reasons stated below.

I.      LEGAL STANDARD FOR CONSIDERATION OF SUMMARY JUDGMENT

        Summary judgment is appropriate when the moving party shows “that there is no genuine

issue as to any material fact and that the moving party is entitled to a judgment as a matter of

law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). “A genuine dispute is present

if a reasonable jury could return a verdict for the nonmoving party, and a fact is material if it

might bear on the outcome of the case.” Wayland v. OSF Healthcare Sys., 94 F.4th 654, 657

(7th Cir. 2024); FKFJ, Inc. v. Village of Worth, 11 F.4th 574, 584 (7th Cir. 2021) (the existence

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of a factual dispute between the parties will not preclude summary judgment unless it is a

genuine dispute as to a material fact).

         When the moving party has met that burden, the non-moving party cannot rely on mere

conclusions and allegations to concoct factual issues. Balderston v. Fairbanks Morse Engine

Div. of Coltec Indus., 328 F.3d 309, 320 (7th Cir. 2003). Instead, it must “marshal and present

the court with the evidence [it] contends will prove [its] case.” Goodman v. Nat. Sec. Agency,

Inc., 621 F.3d 651, 654 (7th Cir. 2010); Lewis v. CITGO Petroleum Corp., 561 F.3d 698, 704 (7th

Cir. 2009). Thus, a mere “scintilla of evidence” supporting the non-movant’s position does not

suffice; there must be evidence on which the jury could reasonably find for the non-moving

party. Anderson, 477 U.S. at 248. Of course, “It is not the duty of the court to scour the record

in search of evidence to defeat a motion for summary judgment; rather, the nonmoving party

bears the responsibility of identifying the evidence upon which he relies.” Harney v. Speedway

SuperAmerica, LLC, 526 F.3d 1099, 1104 (7th Cir. 2008).

         In determining whether a genuine issue of material fact exists, all facts and reasonable

inferences must be drawn in the light most favorable to the non-moving party. King v.

Hendricks Cnty. Commissioners, 954 F.3d 981, 984 (7th Cir. 2020). Yet, the nonmovant “is not

entitled to the benefit of inferences that are supported only by speculation or conjecture.” Boss v.

Castro, 816 F.3d 910, 916 (7th Cir. 2016). Ultimately, summary judgment is granted only if “no

reasonable trier of fact could find in favor of the non-moving party.” Hoppe v. Lewis Univ., 692

F.3d 833, 838 (7th Cir. 2012) (cleaned up).

II.      FACTUAL RECORD

         The Court draws the factual record from the parties’ pleadings; defendant’s Local Rule

56.1 statement of material facts (“DSOF”) (Dckt. #45); defendant’s accompanying exhibits



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(Dckt. #45-2); plaintiff’s Rule 56.1 statement in opposition to DSOF (“DSOF Resp.”) (Dckt.

#50-1); plaintiff’s Rule 56.1 statement of additional facts (“PSOF”) (Dckt. #50-2); plaintiff’s

accompanying exhibits (Dckt. #51-1 through #51-14); and defendant’s response to PSOF

(“PSOF Resp.”) (Dckt. #53). The pertinent facts, construed in the light most favorable to

plaintiff, are as follows.1

        The Federal Air Marshal Service (“FAMS”) is a federal law enforcement service within

the Transportation Security Administration (“TSA”) of the U.S. Department of Homeland

Security. See Dckt. #12 ¶¶2, 4; DSOF Resp. ¶1. Plaintiff Freeman Jordan (“Jordan”) is an

African American man who was employed by FAMS from 2001 through 2018. DSOF Resp.

¶1. From 2015 to 2018, he served as an assistant supervisory agent in charge (“ASAC”) in the

Chicago Field Office. DSOF Resp. ¶1. In his role as an ASAC, Jordan reported to the

supervisory agent in charge of the Chicago Field Office (“Chicago SAC”). DSOF Resp. ¶1.

David Kohl served as the Chicago SAC from 2015 until October 2018, when Kohl was

promoted to the Director of FAMS. DSOF Resp. ¶¶1, 66. Kohl, like most FAMS employees in

the Chicago Field Office, was white and Jordan was the only African American ASAC in the

office. PSOF ¶53.

        Jordan complains of actions dating back to 2016. It was in 2016 that Kohl asked Jordan

to limit his emails to regular business hours rather than after hours. DSOF Resp. ¶8. Also in

2016, Kohl told Jordan in an evaluation that Jordan was not yet ready to serve in a leadership



1
 The Court notes that it is entitled to strict compliance with Local Rule 56.1 procedures. See Curtis v.
Costco Wholesale Corp., 807 F.3d 215, 218–19 (7th Cir. 2015); Stevo v. Frasor, 662 F.3d 880, 886–87
(7th Cir. 2011). Accordingly, what follows are the relevant and properly supported factual assertions,
based on the undisputed facts as admitted by the parties or, if an objection to an asserted fact was raised,
based on the Court’s review of the underlying evidence cited in support of or opposition to the fact. See
Omnicare, Inc. v. UnitedHealth Grp., Inc., 629 F.3d 697, 704 (7th Cir. 2011).


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capacity in a field office as large as Chicago but might be better suited for a smaller office.

DSOF Resp. ¶7. In 2017, Jordan applied to work as the SAC in Detroit (which was a smaller

office than Chicago). DSOF Resp. ¶9. When Jordan was selected for an interview for the

Detroit job, he asked to speak with Kohl in preparation for the interview. Id. Kohl declined

because he would be on the interview panel, id., and indeed he was “the lead panel member for

the interview,” PSOF Resp. ¶49. The panel asked the candidates the same questions and scored

the candidates on multiple factors. Id. On a five-point scale with five (5) as the highest mark,

Kohl gave Jordan the following scores on the various criterion: a “3” for accountability; a “1”

for decisiveness; a “3” for flexibility; a “2” for multitasking; and a “3” for operations

management. PSOF Resp. ¶50; Dckt. #51-7 at 2. Thus, the sum of Kohl’s scores was 12.

Dckt. #51-7 at 2. The sum of Interviewer B’s scores was 13, the sum of Interviewer C’s scores

was 14, and the consensus reached by the three interviewers was 13. Id. Jordan was not

selected for the job; instead, Richard Altomare, an ASAC in Houston, performed better during

the interview process than Jordan and was selected for the SAC position. DSOF Resp. ¶11.

       In August 2017, eight days after his interview, Jordan expressed concern to Kohl that

Roberta Vickerman (“Vickerman”), a marshal who occasionally reported to Jordan, was

undermining Jordan’s authority by going straight to Kohl with issues. DSOF Resp. ¶¶12, 32.

Kohl then communicated his concerns to Jordan about Jordan’s own undermining of Kohl, for

example, by sending a scheduling survey despite Kohl’s instructions otherwise. DSOF Resp.

¶13. Jordan and several of his colleagues perceived exchanges between Kohl and Vickerman as

sexually inappropriate and assumed Kohl favored Vickerman over other employees. PSOF

Resp. ¶¶5, 7. For example, in 2017, Kohl backed Vickerman in a dispute about vehicle

assignments when the application of office tradition would have resulted in the better car going



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to Javier Burgos (“Burgos”). PSOF Resp. ¶¶18–21. Colleagues also corroborate Jordan’s

perception that Kohl and Vickerman made fun of Jordan and his work. DSOF Resp. ¶12.

When acting in ways that Jordan and others perceived as demeaning towards Jordan, Kohl did

not use racial language. PSOF Resp. ¶16.

       In October 2017, Kohl promoted Vickerman to the position of Assistant Federal

Security Director for Law Enforcement (“AFSD-LE”). DSOF Resp. ¶18. AFSD-LEs report to

an ASAC but often go directly to the SAC. DSOF Resp. ¶2. Jordan believed that Kohl

recommended Vickerman for promotion over more qualified men. DSOF Resp. ¶18. In March

2018, Kohl shared a list of candidates for an open Chicago ASAC position with Jordan and he

ultimately recommended a candidate for the position who was not preferred by Jordan. DSOF

Resp. ¶14. In April 2018, Kohl omitted Jordan from emails and meetings that Jordan believed he

should have been privy to. DSOF Resp. ¶23. A colleague testified that on occasion Kohl had cut

off Jordan in meetings and ignored issues Jordan raised. PSOF Resp. ¶10.

       In April 2018 Jordan initiated contact with the applicable Equal Employment

Opportunity (“EEO”) office for the first time. See Dckt. #44 at 10–11. On June 12, 2018,

Jordan submitted an EEO complaint about Kohl’s behavior, which he later supplemented on a

few occasions. PSOF Resp. ¶¶56–57; Dckt. #45-2 at 27; Dckt. #45-2 at 434. In addition,

Jordan sent Kohl a June 14, 2018 email complaining of discrimination, harassing behavior,

hostile work environment, and inappropriate actions by Kohl. PSOF Resp. ¶55. Jordan also

confronted Kohl about Kohl’s reference to Vickerman and another woman (Connie Frost) with

language – such as “cunt” and “bitch” – that is demeaning towards women. PSOF ¶58.

       Tasked with investigating Jordan’s EEO complaint, FAMS-designated fact-finders Alex

Smollok and Daniel Babor interviewed Vickerman, whom Jordan referenced in his complaint.



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During that interview, Vickerman set forth allegations against Jordan of bullying and sexual

harassment. . PSOF Resp. ¶30. By September 2018, Smollok and Babor initiated an

investigation of these new allegations against Jordan.

        Jordan was not notified about this investigation, despite his belief that the agency

handbook required management to inform an employee accused of harassment of an

investigation. See PSOF ¶27.2 Specifically, FAMS management personnel who knew of the

investigation yet did not disclose its existence to Jordan include Kohl, Vickerman, Sterling

Keys, and Robert Bond. PSOF Resp. ¶¶28, 29, 32. Conversely, Bond had notified Kohl when

Jordan submitted his complaint against Kohl. PSOF ¶¶34–36. Jordan did not receive his

scheduled bonuses while under investigation. PSOF Resp. ¶47.3 Kohl, on the other hand, did

receive his scheduled bonuses without delay. PSOF Resp. ¶48. Ultimately, both Jordan’s

complaints against Kohl and Vickerman’s complaints against Jordan were dismissed without

action. PSOF Resp. ¶29.

        Serving as Acting SAC offers career development opportunities that augment one’s

promotional potential. PSOF Resp. ¶64. Michael Buchanan (who was hired as an ASAC in the

Chicago Field Office in July 2018) and Jordan were assigned to share the role of Acting SAC

via thirty-day rotations,4 and Kohl had been consulted about this appointment. PSOF Resp.




2
 Jordan cites to the TSA Handbook to Anti-Harassment Program, Management Directive 1100.73-3,
which requires management and human resources to “[i]nform the alleged harasser that an allegation has
been made regarding his or her conduct and the nature of the conduct . . . [and] that he or she must
immediately discontinue the alleged offending conduct.” Dckt. #54 at 9.
3
 Jordan testified that everyone – including himself – who is under an ITR (incident tracking report)
cannot get their bonus paid until after the investigation is closed out. Dckt. #45-2 at 115–16.
4
 Jordan surmises that had he not complained about Kohl, Kohl would not have promoted Buchanan, and
Jordan would not have had to share the Acting SAC position with Buchanan. See PSOF ¶¶60–66.


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¶¶60, 64. Although Jordan had been named Acting SAC on three occasions between 2015 and

2016 and one occasion in 2017, he was not named Acting SAC between June 2017 and April 2018.

PSOF Resp. ¶24. On August 31, 2018, Jordan submitted an affidavit in support of his EEO

complaint in which he identified nineteen occasions during which he was not selected to serve

as Acting SAC. Dckt. #45-2 at 439, 455. However, only three of these occasions occurred

within the forty-five days of his EEO contact in April 2018 (namely, from April 23 to 25, 2018;

April 13 to 15, 2018; and March 22 to 30, 2018). Dckt. #45-2 at 439.

       In October 2018, Kohl was promoted to the position of FAMS Director and the Chicago

SAC position was vacated. PSOF Resp. ¶62; DSOF Resp. ¶36. Jordan thereafter applied for

the open Chicago SAC position that was vacated by Kohl. Id. Although he was deemed to be

qualified, Jordan was not selected for an interview, and he does not know who determined

which candidates would be interviewed. DSOF Resp. ¶¶36–37. Kohl, who served at the

FAMS headquarters in Washington D.C., had no knowledge related to Jordan’s application for

Chicago SAC. DSOF Resp. ¶37.

       In December 2018, Jordan filed another EEO complaint that alleged that he was

discriminated against based on his race and subject to retaliation between 2016 to 2018 by

Kohl, Keys, Bond, and Vickerman. DSOF Resp. ¶38.

       On July 29, 2020, after the conclusion of the EEO administrative process, Jordan filed

suit in this Court. DSOF Resp. ¶38; see Dckt. #1. In his complaint, Jordan alleges that

defendant violated Title VII by subjecting him to racial discrimination and retaliation under

both disparate treatment and hostile work environment theories. Id. The parties agree that this

lawsuit encompasses the twenty-five instances of discrimination and retaliation that were

identified in Jordan’s June and December 2018 EEO complaints. DSOF Resp. ¶38; Dckt. #45-



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2 at 27-29, 35-36 (listing the twenty-five instances at issue).

            During the course of discovery, Jordan learned from the July 16, 2021 deposition

testimony of Burgos (a Field Officer in the FAMS Chicago Field Office) that Burgos heard

Kohl refer to Jordan as a “nigger” in the Fall of 2018. PSOF Resp. ¶22; Dckt. #51-6 at 2.

Burgos explained that he did not previously report that Kohl had called Jordan the N-word out

of fear that he would be subjected to retaliation and intimidation at the hands of the Chicago

Field Office if he reported what he had heard. PSOF Resp. ¶23.

III.        ANALYSIS

            Defendant asserts that most of Jordan’s claims are time-barred and that he otherwise

lacks sufficient evidence to raise a genuine issue of fact as to whether FAMS personnel violated

Title VII by discriminating against him based on his race, subjecting him to a hostile working

environment, or retaliating against him based on his complaints about discrimination. For the

reasons stated below, the Court agrees.

       A.    Jordan’s Claims Based on Discrete Events That Occurred Prior to February 14,
             2018 Are Time-Barred.

            “Federal government employees may bring Title VII . . . employment discrimination

claims in federal court only after they have timely exhausted their administrative remedies.”

Formella v. Brennan, 817 F.3d 503, 510 (7th Cir. 2016) (citing 42 U.S.C. § 2000e-16c)). To

fulfill this exhaustion requirement, a federal employee “must obtain EEO counseling or file an

informal complaint within 45 days of the alleged discriminatory action.” Id. (citing 29 C.F.R.

§1614.105(a)(1)). “[T]he scope of the complaint brought before the administrative agency

limits the scope of subsequent civil proceedings in federal court[,]” and “plaintiffs may pursue

only those claims that could reasonably be expected to grow out of the administrative charges.”

Reynolds v. Tangherlini, 737 F.3d 1093, 1099–1100 (7th Cir. 2013). A claim satisfies this


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requirement that it be “like or reasonably related to” the administrative charges if it, “at

minimum, describe[s] the same conduct and implicate[s] the same individuals.” Hambrick v.

Kijakazi, 79 F.4th 835, 841 (7th Cir. 2023), quoting Reynolds, 737 F.3d at 1100; see also

Poullard v. McDonald, 829 F.3d 844, 855 (7th Cir. 2016) (affirming grant of summary

judgment of disparate treatment claim based on untimeliness when “the arguably adverse events

[the plaintiff] identifie[d] occurred outside the 45-day window that preceded his contact with

the [EEO] counselor”).

        In this case, Jordan initiated contact with his EEO office on an unspecified date in April

2018. Reading the record in the light most favorable to him, only his complaints about discrete

acts of discrimination which occurred after February 14, 2018 (forty-five days prior to April 1,

2018) are timely. To his credit, Jordan “concedes . . . that a timely claim under Title VII

requires an employee to first bring a complaint of discrimination to the agency’s EEO

component within 45 days of the allegedly discriminatory act,” (Dckt. #50 at 11), and he

affirmatively asserts that he “will not belabor contesting those discriminatory acts that

surpassed 45-days from his filing of an informal complaint in April of 2018.” (Id., at 12). As

such, Jordan has abandoned all claims that are based on events which occurred prior to the

forty-five day period.5 These claims include those based on: (a) Kohl’s 2016 performance

review comments; (b) FAMS’ failure to select him for the Detroit SAC position in 2017; (c)

Kohl’s 2017 statement that Jordan was biased; (d) the 2017 vehicle swap kerfuffle concerning

Vickerman and Burgos; and (4) all but three of the occasions during which Jordan claims he


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 As the Supreme Court has noted, time-barred discriminatory acts may nonetheless “constitute relevant
background evidence in a proceeding in which the status of a current practice is at issue.” United Air
Lines, Inc. v. Evans, 431 U.S. 553, 558 (1977). Discriminatory acts that took place prior to the forty-five-
day period could also potentially comprise part of Jordan’s hostile environment claim if they are part of
the same unlawful employment practice. See, e.g., Ford v. Marion Cnty. Sheriff’s Off., 942 F.3d 839,
850–54 (7th Cir. 2019).

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was not selected to be the Acting SAC when Kohl was out of the Chicago Field Office. Dckt.

#50 at 11–12.

   B.    Jordan’s Disparate Treatment Claims Based on His Race and Retaliation Fail For
         Multiple Reasons.

        Title VII of the Civil Rights Act of 1964 makes it unlawful for an employer to

“discriminate against any individual with respect to . . . terms, conditions, or privileges of

employment, because of such individual’s . . . race.” 42 U.S.C. §2000e–2(a)(1); see Boss, 816

F.3d at 916, quoting 42 U.S.C. §2000e–2(a)(1). Faced with a motion for summary judgment, the

Court “look[s] to see whether the evidence would permit a reasonable factfinder to conclude that

the plaintiff's race caused the discharge or other adverse employment action.” Wince v. CBRE,

Inc., 66 F.4th 1033, 1040 (7th Cir. 2023) (cleaned up); Ortiz v. Werner Enterprises, Inc., 834

F.3d 760, 765 (7th Cir. 2016).

        To prevail on his disparate treatment claim, Jordan must show that he was subject to an

adverse employment action. West v. Radtke, 48 F.4th 836, 848 (7th Cir. 2022); Reives v. Ill.

State Police, 29 F.4th 887, 894 (7th Cir. 2022). “To be actionable, an employment action must

be a significant change in employment status . . . or a decision causing a significant change in

benefits.” Alexander v. Casino Queen, Inc., 739 F.3d 972, 980 (7th Cir. 2014) (cleaned up).

Furthermore, “[a]lthough adverse employment actions are often economic injuries, . . . [they]

also extend beyond readily quantifiable losses.” Id. (cleaned up). Nonetheless, it is equally

well-settled that “not everything that makes an employee unhappy is an actionable adverse action

because, [o]therwise, minor and even trivial employment actions that an irritable, chip-on-the-

shoulder employee did not like would form the basis of a discrimination suit.” Reives, 29 F.4th

at 894 (cleaned up); Lewis v. Wilkie, 909 F.3d 858, 867–68 (7th Cir. 2018) (“[P]etty slights or

minor annoyances that often take place at work” do not suffice).


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        The Seventh Circuit has recognized three general categories of adverse employment

actions: “(1) termination or reduction in compensation, fringe benefits, or other financial terms

of employment; (2) transfers or changes in job duties that cause an employee’s skills to atrophy

and reduce further career prospects; and (3) unbearable changes in job conditions, such as a

hostile work environment or conditions amounting to constructive discharge.” Reives, 29 F.4th

at 894 (cleaned up). In the retaliation context, “a materially adverse action need not be one that

affects the terms and conditions of employment, but it must be one that a reasonable employee

would find to be materially adverse such that the employee would be dissuaded from engaging in

the protected activity.” Lewis, 909 F.3d at 867 (cleaned up). Nonetheless, “[t]he antiretaliation

provision protects an individual not from all retaliation, but [only] from retaliation that produces

an injury or harm.” Burlington N. and Santa Fe Ry. Co. v. White, 548 U.S. 53, 67 (2006); Lewis,

909 F.3d 867–68 (“Title VII’s anti-retaliation provision does not protect an employee against

petty slights or minor annoyances that often take place at work and that all employees

experience.”) (cleaned up).

        Jordan relies on the indirect method of proof provided by the McDonnell Douglas

burden-shifting framework, under which a plaintiff has “the initial burden to establish a prima

facie case of discrimination, after which the burden shifts to the defendant to provide a legitimate

justification, before finally shifting back to the plaintiff to establish that such justification was

pretextual.” Wince, 66 F.4th at 1040 (cleaned up). To support a prima facie case, a plaintiff

must show that: (1) he is a member of the protected class (or engaged in a protected activity); (2)

he met his employer’s legitimate job expectations; (3) he suffered an adverse employment

action; and (4) similarly situated employees outside the protected class (or who did not engage in

protected activity) were treated more favorably. Id.; Lewis, 909 F.3d at 866; Dckt. #50 at 11.



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        Jordan asserts that defendant discriminated against him based on his race and in

retaliation for his complaints of discrimination by: (1) failing to offer him opportunities to serve

as the Acting SAC when Kohl was out of the Chicago Field Office; (2) failing to promptly

inform him that he was under investigation for sexual harassment as required by agency policy

and depriving him of his bonus while he was under investigation; and (3) subjecting him to a

hostile work environment. Dckt. #50 at 13–19.6

        1. Jordan’s claims based on the failure to offer him opportunities to serve as Acting
           SAC fails for two reasons.

        As explained above, the vast majority of the occasions during which Jordan asserts that

he was wrongfully denied the opportunity to serve as the Acting SAC in the Chicago Field

Office when Kohl was out of the office occurred more than forty-five days before Jordan first

approached the EEO office in April 2018 and Jordan’s claims related to them are time-barred.

Jordan presses on and asserts that he was denied the opportunity to serve as the Acting SAC on

the remaining three occasions in March and April of 2018 because of his race and/or in

retaliation for his complaints of discrimination.

        Defendant asserts that Jordan fails to establish a prima facie case as to this claim for two

reasons. First, Jordan cannot establish that a similarly situated person outside his protected class

was treated more favorably than him (namely, by being named Acting SAC) because no one was

named Acting SAC on these three occasions. See Coleman v. Donahoe, 667 F.3d 835, 846–47


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  During the administrative process, Jordan also complained that he was subjected to discrimination
and/or retaliation in October 2018 when defendant’s management prevented him from being considered
for promotion to Chicago SAC position. Dckt. #45-2 at 36. Defendant addressed this claim in its
supporting memorandum and asserted that it was not meritorious for several reasons. Dckt. #44 at 21–22.
Jordan, however, did not meaningfully address this claim in his response brief, let alone rebut defendant’s
rationale for why it should be granted summary judgment on it. See Dckt. #50 at 16–17. Consequently,
the Court finds that Jordan has abandoned his claim as to the October 2018 promotional opportunity. See,
e.g., Kovaco v. Rockbestos-Surprenant Cable Co., 834 F.3d 128, 142–44 (2d Cir. 2016); Robertson v.
Dep’t of Health Servs., 949 F.3d 371, 374 & n.2 (7th Cir. 2020).

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(7th Cir. 2012) (summary judgment is appropriate where no reasonable factfinder could find that

plaintiff has identified a similarly situated comparator). Second, defendant has offered a

legitimate, non-discriminatory reason for why no one – including Jordan – was named as an

Acting SAC (namely, because Kohl was available by phone and email) that Jordan has admitted

and not shown to be pretextual. DSOF Resp. ¶17.7

        2. Jordan’s claim based on the failure to promptly notify him that he was under
           investigation and the withholding of his bonus during the pendency of the
           investigation likewise fails for two reasons.

        Jordan asserts that the decision by FAMS’ management to delay notifying him that he

was the subject of an internal harassment investigation and to withhold payment of his bonus

during the pendency of the investigation was made because of his race and/or in retaliation for

his complaints of discrimination. Defendant asserts that Jordan’s claims related to this issue fails

for two reasons, and the Court agrees.

        First, Jordan has failed to present sufficient evidence to allow a reasonable jury to find

that FAMS’ failure to promptly notify him that he was under investigation and to withhold

payment of his bonus during the investigation was an adverse employment action. To begin,

Jordan presents no evidence that the purported delay in notifying him that he was under




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  Defendant also asserts that the denial of the opportunity to serve as an Acting SAC is not an adverse
employment action for the purposes of Title VII. However, it is undisputed on this record that serving as
an Acting SAC furthers one’s career path and promotional opportunities within FAMS, (PSOF Resp.
¶64), and courts have reached differing results as to whether the denial of such an opportunity constitutes
an adverse employment action. Compare Martin v. D.C., 78 F.Supp.3d 279, 305–07 (D.D.C. 2015)
(denying summary judgment after finding that denial of the opportunity to serve as relief supervisory
investigator was an adverse employment action) with Zaffuto v. City of Hammond, 308 F.3d 485, 493 n.8
(5th Cir. 2002) (denial of opportunity to serve as acting shift lieutenant while supervisor was on vacation
was far too minor to constitute an ultimate employment action). Even assuming arguendo that the denial
of such an opportunity would constitute an adverse employment action, Jordan nonetheless fails to
present sufficient evidence to establish a prima facie case on this claim for the two reasons outlined
above.

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investigation caused him to experience any harm whatsoever, let alone an economic injury or

change in his employment status.

       Furthermore, although a discriminatory act that caused the loss of a bonus would

typically qualify as an adverse employment action (see, e.g., Taylor v. Small, 350 F.3d 1286,

1293 (D.C. Cir. 2003)), an act that caused the delay in the payment of a bonus that was fully paid

before the lawsuit is filed does not qualify as an adverse employment action. Id. (“We agree

with the four other circuits to have addressed the question: An employer may cure an adverse

employment action – at least one [concerning the failure to pay a proper bonus] – before that

action is the subject of litigation.”); Id., at 1294 (affirming the grant of summary judgment

because “there was no unremedied adverse employment action when the suit was filed” since the

employer corrected its error and paid plaintiff her full bonus). This same conclusion holds even

for retaliation claims, where a more expansive definition of adverse employment action applies.

See, e.g., Lewis, 909 F.3d at 868 (a “delayed paycheck” and a “short paycheck” were “simply

isolated administrative errors that were resolved . . . [and] did not cause Lewis lasting harm or

injury sufficient to dissuade a reasonable employee from engaging in protected activity.”); Reid

v. Buttigieg, No. CV 20-1262 (TJK), 2023 WL 2184549, at *8 (D.D.C. Feb. 23, 2023) (citing

Taylor and finding that it would undermine Congress’s policy of encouraging informal resolution

during the exhaustion period to allow plaintiff to assert a retaliation claim based upon wrongfully

withheld back pay and benefits that were fully reimbursed prior to the filing of plaintiff’s

lawsuit).

       Second, Jordan has failed to provide evidence that a similarly situated person who is a

non-African American and/or who did not complain of discrimination was treated more

favorably than him by defendant. As the Seventh Circuit has explained, “[a]ll things being



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equal, if an employer takes an action against one employee in a protected class but not another

outside that class, one can infer discrimination. The ‘similarly situated’ prong establishes

whether all things are in fact equal.” Coleman, 667 F.3d at 846 (cleaned up). “In the usual case

a plaintiff must at least show that the comparators (1) dealt with the same supervisor, (2) were

subject to the same standards, and (3) engaged in similar conduct without such differentiating or

mitigating circumstances as would distinguish their conduct or the employer’s treatment of

them.” Id., at 847 (cleaned up). Although whether a comparator is similarly situated is usually a

question of fact, summary judgment is appropriate “when no reasonable fact-finder could find

that plaintiffs have met their burden on the issue.” Id., at 846–47 (cleaned up).

        Here, Jordan compares himself only to Kohl, who received prompt notice that he was

under investigation and timely payment of his bonus during the pendency of his investigation.

Dckt. #50 at 15-17. However, it is undisputed that Kohl (as the Chicago SAC) was Jordan’s

supervisor. The Seventh Circuit has repeatedly held that “ordinarily, it will not be the case that a

plaintiff is similarly situated to another employee when the plaintiff is subordinate to that

employee.” Burks v. Wisconsin Dep’t of Transp., 464 F.3d 744, 751 (7th Cir. 2006); Poullard,

829 F.3d at 855 (“Mailand was Poullard’s supervisor, for one thing. This fact alone makes it

difficult to conclude that two employees are similarly situated.”). Jordan cites no authority to the

contrary,8 or any facts to indicate that this is anything but an “ordinary” case where a plaintiff

has unpersuasively attempted to compare himself to his supervisor. Consequently, this Court

finds that summary judgment on claims related to the delayed notification and bonus payment is



8
  See Meka v. Dayco Prod. LLC, No. 2:23-CV-11437, 2024 WL 3556180, at *3 n.2 (E.D.Mich. July 26,
2024) (“Meka fails to identify any case in which a court found that a plaintiff’s supervisor is similarly
situated for purposes of a Title VII claim. Indeed, McGahey, Meka’s supervisor, holds a different
position and has a different supervisor.”).


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appropriate for this reason as well. Id.; also Reives, 29 F.4th at 893 (plaintiff “has not shown that

[the proffered comparator] was similarly situated to him, so he cannot establish a prima facie

case of race discrimination under the McDonnell Douglas approach.”).

       3. Jordan has Failed to Raise a Genuine Issue of Fact as to Whether He
          Experienced a Hostile Work Environment Based on Racial or Retaliatory
          Animus.

       Finally, Jordan asserts that his supervisor Kohl and his subordinate Vickerman created a

hostile work environment on the basis of his race and/or in retaliation for his complaints of

discrimination. Title VII is violated “[w]hen the workplace is permeated with discriminatory

intimidation, ridicule, and insult that is sufficiently severe or pervasive to alter the conditions of

the victim’s employment and create a hostile working environment.” National R.R. Passenger

Corp. v. Morgan, 536 U.S. 101, 116 (2002) (cleaned up). Thus, to overcome defendant’s motion

for summary judgment, Jordan must present evidence demonstrating: “(1) [his] work

environment was objectively and subjectively offensive; (2) the harassment was based on

membership in a protected class or in retaliation for protected behavior; (3) the conduct was

severe or pervasive; and (4) there is a basis for employer liability.” Rongere v. City of Rockford,

99 F.4th 1095, 1105 (7th Cir. 2024) (cleaned up). “Deciding whether a work environment is

hostile requires consideration of factors like the frequency of improper conduct, its severity,

whether it is physically threatening or humiliating (as opposed to a mere offensive utterance),

and whether it unreasonably interferes with the employee’s work performance.” Id. (cleaned up).

Finally, “[t]o qualify as severe or pervasive under the third prong, the conduct must be ‘extreme’

considering all the circumstances.” Id.; Howard v. Cook Cnty. Sheriff’s Off., 989 F.3d 587, 600

(7th Cir. 2021) (same).

       Defendant asserts that it is entitled to summary judgment on Jordan’s hostile environment

claim because his environment was not objectively and subjectively offensive; the conduct at
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issue was not severe or pervasive; and because Jordan has no evidence indicating that any of the

actions in question were taken against him based on his race or prior protected activity. Dckt.

#44 at 26–28. In the one paragraph of his fifteen-page response brief that he devotes to his

hostile environment claim, Jordan relies on the evidence that Kohl called him the N-word in the

Fall of 2018, makes vague references to “alleged petty slights” and “a false claim against hi[s]

professional and personal reputation,” asserts that other FAMS employees were fearful of

retaliation, and that Kohl and Vickerman had a close relationship, yet Jordan cites no legal

authority to rebut defendant’s argument. Dckt. #50 at 18–19. Jordan’s response is so superficial

that it comes perilously close to waiver/abandonment.9 Nonetheless, even giving Jordan the

benefit of all doubt, his hostile environment claim fails for the following reasons.

         To begin, Jordan has failed to offer sufficient evidence to create a genuine dispute as to

whether the conduct of which he complains was “objectively” offensive or sufficiently “severe”

or “pervasive” to constitute a hostile work environment.10 Viewing the evidence in the light

most favorable to Jordan, he complains of: (a) Kohl undermining his authority by

communicating directly with Vickerman (who was under Jordan’s supervision); (b) Kohl and

Vickerman making fun of Jordan and his work; (c) Kohl omitting Jordan from emails and

meetings that Jordan believed he should have been privy to; (d) Kohl cutting off Jordan in

meetings and ignoring issues that Jordan raised; and (e) disparaging his reputation by

investigating him for a complaint of harassment of which he was ultimately cleared without

promptly notifying him of the existence of the investigation. Supra, at Section II.


9
 See, e.g., United States v. Cisneros, 846 F.3d 972, 978 (7th Cir. 2017) (“We have repeatedly and
consistently held that perfunctory and undeveloped arguments, and arguments that are unsupported by
pertinent authority, are waived.”) (cleaned up).
10
  The Court presumes for purposes of summary judgment that Jordan found his work environment to be
subjectively offensive.

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        Such conduct, even considered as a whole, is not sufficient to enable Jordan to avoid

summary judgment. In Hambrick v. Kijakazi, for example, the Seventh Circuit affirmed a grant

of summary judgment in defendant’s favor on plaintiff’s hostile environment claim despite

plaintiff’s evidence that she was subjected to “harassing emails,” a “lack of recognition,”

“everyday work disagreements,” “being left off the staff directory for a few months,” along with

a “heavy workload, management’s high expectations, and routine workplace discipline (such as

weekly touch point meetings and a discipline meeting for tardiness).” 79 F.4th at 842–43 (7th

Cir. 2023). In doing so, the Court noted that “having supervisors who are short tempered,

hostile, unfairly critical, and disrespectful, does not amount to objectively offensive, severe, or

pervasive conduct.” Id., at 843 (cleaned up); Abrego v. Wilkie, 907 F.3d 1004, 1015 (7th Cir.

2018) (same, and noting that being “subjected to excessive monitoring” by a supervisor is not

“objectively offensive” conduct); Bell v. E.P.A., 232 F.3d 546, 554–55 (7th Cir. 2000)

(“demeaning assignments, verbal abuse, surveillance, diminished responsibilities, refusal to

cooperate on job assignments, and placements in situations designed to result in failure” even in

the aggregate, “do not rise to the level of actionable retaliation”); see also Sherman v. ConAgra

Foods Inc., No. 21-CV-1038-SCD, 2024 WL 3594646, at *9–10 (E.D.Wis. July 31, 2024) (citing

Hambrick and Abrego).

       Lastly, Jordan relies on the evidence that Kohl referred to Jordan as the N-word in the

Fall of 2018 – which this Court presumes true for purposes of summary judgment. There is no

question that Kohl’s reference to Jordan as the N-word was despicable and inexcusable within

FAMS or any other workplace. “This is because the word n[**]ger is pure anathema to African-

Americans . . . [and] [n]o other word in the English language so powerfully or instantly calls to

mind our country’s long and brutal struggle to overcome racism and discrimination against



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African-Americans.” Paschall v. Tube Processing Corp., 28 F.4th 805, 815 (7th Cir. 2022)

(cleaned up); Scaife v. United States Dept. of Veterans Affairs, 49 F.4th 1109, 1116 (7th Cir.

2022) (“It goes without saying that the N-word is an egregious racial epithet.”). Indeed, “[a]

one-time use of the epithet can in some circumstances warrant Title VII liability. Scaife, 49 F.4th

at 1116 (citing Paschall, 28 F.4th at 815).

         Nonetheless, Kohl’s reference to Jordan as the N-word does not save Jordan’s otherwise

deficient hostile environment claim under the circumstances here. It is undisputed that Jordan

(who left FAMS in 2018) did not learn of Kohl’s use of the N-word until July 2021. Since

Jordan did not know of Kohl’s use of this racial slur while he was working at FAMS, the slur had

no bearing on whether Jordan’s work environment at FAMS was “objectively and subjectively

offensive” or whether the conduct he was subject to while at FAMS was “severe or pervasive.”

Even Jordan acknowledges this. Dckt. #50 at 12 (“The racial epithet may not rise to a level of

hostile work environment.”). Moreover, even if Kohl’s use of this racial slur could serve to

suffuse each of Kohl’s actions with racial bias (as Jordan contends, Dckt. #50 at 12), Kohl’s

actions were not sufficiently “severe or pervasive” or “objectively offensive” to constitute a

hostile work environment regardless of what motivated him to engage in those actions.11 Put

another way, suffusing Kohl’s actions with racial bias (thereby satisfying the second element of a

hostile environment claim) does not alone make his actions sufficiently objectively offensive or

severe or pervasive to satisfy the first and third elements of a hostile environment claim. See

Rongere, 99 F.4th at 1105 (listing elements).




11
  The Court further notes that Jordan offers no evidence to suggest that Kohl’s actions were motivated by
retaliation or that Kohl had any role in prompting Vickerman to complain that Jordan had engaged in
harassment.

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       Consequently, Jordan has failed to produce sufficient evidence to allow a reasonable jury

to find that he was subjected to a hostile work environment in violation of Title VII based on

racial and/or retaliatory bias. Accordingly, defendant is entitled to summary judgment on

Jordan’s hostile work environment claim as well.

                                            CONCLUSION

       For the above reasons, defendant’s motion for summary judgment, Dckt. #42, is granted.



Date: November 4, 2024



                                                            ________________________
                                                            Jeffrey I. Cummings
                                                            United States District Court Judge




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